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 8
                             UNITED STATES DISTRICT COURT
 9
                              FOR THE DISTRICT OF ARIZONA
10                                  TUCSON DIVISION
11
     Jane Doe, by her next friend and parents        Case No. 4:23-cv-00185-JGZ
12   Helen Doe and James Doe; and Megan Roe,
     by her next friend and parents, Kate Roe and    PLAINTIFFS’ NOTICE OF
13
     Robert Roe,                                     SUPPLEMENTAL AUTHORITY IN
14                     Plaintiffs,                   SUPPORT OF THEIR CONSOLIDATED
            v.                                       MOTION FOR SUMMARY JUDGMENT
15                                                   AND OPPOSITION TO DEFENDANTS’
     Thomas C. Horne in his official capacity as     MOTION FOR SUMMARY JUDGMENT
16
     State Superintendent of Public Instruction;
17   Laura Toenjes, in her official capacity as
     Superintendent of the Kyrene School
18   District; Kyrene School District; The
19   Gregory School; and Arizona Interscholastic
     Association Inc.,
20
                       Defendants,
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22   Warren Petersen, in his official capacity as
     President of the Arizona State Senate, and
23   Steve Montenegro, in his official capacity as
24   Speaker of the Arizona House of
     Representatives,
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                       Intervenor-Defendants.
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 1          Plaintiffs provide notice of the following supplemental authority in support of their
 2   Consolidated Motion for Summary Judgment and Opposition to Defendants’ Motion for
 3   Summary Judgment (Dkt. 302): United States v. Skrmetti, 605 U.S. ___ (2025).
 4          Skrmetti concerns a challenge to Tennessee’s Prohibition on Medical Procedures
 5   Performed on Minors Related to Sexual Identity, SB 1, 113th Gen. Assem., 1st Extra. Sess.;
 6   Tenn. Code Ann. §68–33–101 et seq. (2023) (“SB1”). SB1 bans the use of certain medical
 7   treatments for minors. As relevant here, the Supreme Court held that SB1 does not classify
 8   based on sex or transgender status. Instead, the Supreme Court held that SB1 classifies
 9   based on age (healthcare providers may administer certain medical treatments to
10   individuals ages 18 and older but not to minors) and medical use (healthcare providers may
11   administer puberty blockers or hormones to minors to treat certain conditions but not to
12   treat gender dysphoria, gender identity disorder, or gender incongruence).
13          Because the Supreme Court held SB1 does not classify based on transgender status,
14   the Supreme Court did not consider whether such laws are subject to heightened scrutiny
15   either because they are sex-based or because discrimination based on transgender status
16   warrants heightened scrutiny in its own right. The Court also did not address whether the
17   reasoning of Bostock v. Clayton County, 590 U. S. 644 (2020)—that “it is impossible to
18   discriminate against a person for being . . . transgender without discriminating against that
19   individual based on sex”—applies outside the Title VII context. See Skrmetti, 605 U.S. at
20   19. The Court also noted that the plaintiffs had not argued that SB1 was “motivated by an
21   invidious discriminatory purpose.” Slip Op. 15.
22          Skrmetti’s rationale strongly supports Plaintiffs’ arguments in their summary
23   judgment briefing. Contrary to the Skrmettti Court’s analysis of SB1, the Ban does not
24   classify based on age or medical use. Rather, the Ban facially classifies only based on sex
25   and transgender status and at a minimum was enacted because of its disparate impact on
26   transgender girls. See Ariz. Statute § 15-120.02(B) (“Athletic teams or sports designated
27   for “females,” “women,” or “girls” may not be open to students of the male sex.”); S.B.
28   1165, 55th Leg., 2d Reg. Sess. (Ariz. 2002), § 2 (A person’s sex is determined at

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 1   fertilization and revealed at birth or, increasingly, in utero.); Plaintiffs’ Consolidated
 2   Motion for Summary Judgment (“Plaintiffs’ Motion”), ECF No. 302 at 16. As the Ninth
 3   Circuit and this Court correctly recognized, the Ban classifies based on transgender status
 4   because the Ban intentionally prohibits “only transgender female students . . . playing on
 5   teams consistent with their gender identity.” Horne, 115 F.4th at 1104–05; see also PI
 6   Order ¶¶ 147–48; Plaintiffs’ Motion at 16. In addition, the Ban applies only to transgender
 7   girls and not to transgender boys.
 8          Skrmetti’s rationale also supports Plaintiffs’ Title IX claim because sex is the but
 9   for cause of the Ban’s operation. See Skrmetti, 605 U.S. at 18-21; see PI Order ¶ 168 (“The
10   Act’s classification of all transgender girls as male and its prohibition of students who are
11   “male” from playing on girls’ teams, Ariz. Stat. § 15-120.02(B), intentionally excludes all
12   transgender girls, including Plaintiffs, from participating on girls’ teams.”).
13          Furthermore, as discussed above, the Skrmetti Court noted that the plaintiffs in that
14   case did not argue that SB1 was “motivated by an invidious discriminatory purpose.” Slip
15   Op. 15. In contrast, here, substantial evidence supports this Court’s prior finding that the
16   Ban reflects an intention to discriminate against transgender persons. See PI Order ¶ 162.
17          For the foregoing reasons, Skrmetti supports Plaintiffs’ positions in the pending
18   summary judgment briefing.
19                                               Respectfully submitted this 25th day of June,
20                                               2025.

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